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Based upon information contained in I.C. File LH-0300 and upon an investigation made by the Investigations Section of the Industrial Commission, the Full Commission makes the following:
                            FINDINGS OF FACT
1.  Decedent, Betty King Dennis, was a Security Officer employed by the Centerville Rescue Squad at the time of her death on 3 January 2001.
2.  Decedent's death occurred in the course and scope of her employment when she was fatally struck by an automobile while directing traffic at the scene of a motor vehicle accident.
3.  At the time of her death, decedent was not married and had no dependent children or dependent parents.
                               ***********  Based upon the foregoing findings of fact, the Full Commission concludes as follows:
                           CONCLUSIONS OF LAW
1.  Decedent was an eligible employee of the Centerville Rescue Squad as defined in N.C. Gen. Stat. § 143-166.2(d), at the time of her death on 3 January 2001.
2.  Decedent's death was the direct result of injuries incurred while performing her official duties, as defined by N.C. Gen. Stat. §143-166.2.
3.  Decedent is not survived by a spouse, dependent children or dependent parents; therefore the award of death benefits is properly paid to the decedent's estate pursuant to N.C. Gen. Stat. § 143-166.3.
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Based upon the foregoing findings of fact and conclusions of law, the Full Commission enters the following:
                                  AWARD
1.  The sum of $25,000.00 is hereby awarded to the estate of Betty King Dennis.  This sum shall be paid from funds appropriated by the State Treasurer for the purpose set forth in N.C. Gen. Stat. § 143-166.1 etseq.
A copy of this Award shall be furnished the Office of the State Treasurer for the purpose of having compliance with this Award, and the Commission shall be advised of the date or dates of payments made.
No costs are assessed before the Commission.
This the ___ day of April, 2001.
                                   S/___________________ BERNADINE S. BALLANCE COMMISSIONER
CONCURRING:
  S/_____________ THOMAS J. BOLCH COMMISSIONER
  S/_______________ CHRISTOPHER SCOTT COMMISSIONER